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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                              CR 14–06–M–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 CLAYTON WILLARD CARTER,

                      Defendant.



      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on June 19, 2014. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Clayton Willard Carter’s


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guilty plea after Carter appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered his plea of guilty to the possession of stolen firearms in

violation of 18 U.S.C. § 922(j) as set forth in the Indictment. Defendant further

agrees to the forfeiture allegation.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

91), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Clayton Willard Carter’s motion to

change plea (Doc. 82) is GRANTED and the Defendant is adjudged guilty of the

offense charged in the Indictment.

      DATED this 11th day of July, 2014.




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